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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                             CASE NO.: 1:21-CV-22441-SCOLA, JR./GOODMAN

 DONALD J. TRUMP, the Forty- Fifth
 President of the United States,
 INDIVIDUALLY AND ON BEHALF OF A
 CLASS OF PERSONS SIMILARLY
 SITUATED,

        Plaintiff and the Class,

 vs.

 TWITTER, INC., and JACK DORSEY,

        Defendants.
                                   /

                             CERTIFICATION OF JOHN P. COALE

        John P. Coale Esquire, pursuant to Rule 4(b) of the Rule Governing the Admission,

 Practice, Peer Review, and Discipline of Attorneys, hereby certifies that (1) I have studied the

 Local Rule of the United States District Court for the Southern District of Florida; and (2) I am a

 member in good standing of District of Columbia Court of Appeals, the District of Columbia; and

 (3) I have not filed three of more motions for pro hac vice admission in this District within the last

 365 days.



                                                                      /s/ John P. Coale
                                                                       John P. Coale
